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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 4 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 5 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 6 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 7 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 8 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 9 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 10 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 13 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 14 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 15 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 17 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 18 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 19 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 20 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 21 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 22 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 23 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 26 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 27 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 28 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 31 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 32 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 47 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 48 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 51 of 58




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Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 52 of 58




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                           Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 56 of 58
                                                                                    Home Phone


Owner's Name                                                                        Work phone


Address                                                        oc     Zc)    Refer
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Animal's Name                 \cxcno.         Species                            Breed     (C\   \cucic a
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                         Case 1:20-cv-01225-PX Document 71-10 Filed 12/20/21 Page 57 of 58
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Owners Name                                                                         Work phone


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Owner's Name                                                     ?25t3                  Work phone

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Animal's Name T)\OX)\()                     Species                                  Breed

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